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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

GEORGE MARTINEZ                             §
                                            §
v.                                          §
                                            §
NUECES COUNTY, TEXAS;                       §
WELLPATH, LLC.;                             §
FERNANDO CARRENO;                           §
ANGELA MCGEE;                               §
ADAM SHARTZER;                              §
CASSANDRA GUZMAN;                           §
CORINA PARRIS;                              §         CIVIL ACTION NO. 2:21-cv-210
CARLA ROMEO;                                §         JURY
DORA ACUNA;                                 §
ERICA DURHAM;                               §
JAPHETH FERNANDEZ;                          §
JANET CORDERO;                              §
JENNIFER CANNON;                            §
JESSICA STANLEY;                            §
MARCIA SCHOBER;                             §
STACEY FLINT;                               §
SARAH ECKSTROM;                             §
SELENA BURNES;                              §
SAMANTHA RODRIGUEZ;                         §
TANESHIA GOLDEN;                            §
VERONICA GARCIA;                            §
PRISCILLA BONE; and                         §
EDRA BOCANEGRA                              §

                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOW COMES Plaintiff, George Martinez, bringing this his Plaintiff’s Original

Complaint, praying for damages against the above-noted Defendants, as said Defendants, jointly

and severally, have denied Plaintiff his rights as guaranteed by the Constitution and laws of the

United States of America and/or the State of Texas.
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                                            I.
                                 JURISDICTION AND VENUE

1.     This court has jurisdiction over this action pursuant to 28 U.S.C. §1331 (federal question)

and 28 U.S.C. §1343(3) (civil rights). This court also has supplemental jurisdiction pursuant to 28

U.S.C. §1367 to hear the state claims that will be set forth in this complaint. Venue is proper in

the Southern District of Texas, Corpus Christi Division, as this is the district where the claim arose

in accordance with 29 U.S.C.§1391(b).

                                               II.
                                             PARTIES

2.     Plaintiff George Martinez (hereinafter occasionally referred to as “Plaintiff” and/or

“Daniel”) is a resident of Nueces County, Texas.

3.     Defendant Nueces County, Texas (hereinafter “Defendant County” or “County”) is a

political subdivision of the State of Texas, and may be served with summons upon its County

Judge, Barbara Canales, 901 Leopard St., Room 303, Corpus Christi, Texas 78401.

4.     Defendant Well Path, L.L.C. (hereinafter “Defendant Well Path” or “Well Path”) is a Texas

corporation and can be served with summons through its agent for such purposes, Corporate

Creations Network, Inc., 2425 W. Loop South #200, Houston, Texas 77027.

5.     Defendants Angela Mcgee, Adam Shartzer, Cassandra Guzman, Corina Parris Carla

Romeo, Dora Acuna, Erica Durham, Japheth Fernandez, Janet Cordero, Jennifer Cannon, Jessica

Stanley, Marcia Schober, Stacey Flint, Sarah Eckstrom, Selena Burnes, Samantha Rodriguez,

Taneshia Golden, Veronica Garcia, Priscilla Bone, Edra Bocanegra were all medial personal

working for Defendant County and/or Defendant Well Path, and can be served with summons

through Defendant Well Path’s agent for such purposes, Corporate Creations Network, Inc., 2425

W. Loop South #200, Houston, Texas.




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                                                III.
                                               FACTS

6.     Whenever, in this complaint it is alleged that any Defendant did any act, thing, and/or

omission, it is meant that Defendant and/or Defendant’s officers, agents, servants, employees or

representatives did such act, thing and/or omission and that at the time it was done with full

authorization and/or ratification of Defendant or done during the employment of Defendant and/or

Defendant’s officers, agents, servants, employees or representatives.

7.     In early September 2019, Plaintiff was incarcerated in the Nueces County Jail (hereinafter

“Jail”). At that time, Plaintiff complained of an informed Defendants that he was scheduled for a

surgery on his foot, which had been causing him severe problems with for some time. Despite his

numerous complaints concerning his medications, antibiotics and in general concerning the

increasingly horrific condition of his foot, Defendants continually ignored such over a significant

period of time. As a result, one of Petitioner’s toes exploded, resulting in all ultimately being

unnecessarily amputated/removed.

                                          IV.
                             FIRST CLAIM FOR RELIEF - - §1983

8.     The allegations set forth in this complaint are herein incorporated by reference, the same

as if fully set forth verbatim for any and all purposes of this pleading.

9.     Section 1983. The Civil Rights Act of 1871 (Ku Klux Klan Act), now codified as 42 U.S.C.

§ 1983 as federal law provides: “Every person who, under color of any statute, ordinance,

regulation, custom or usage, of any state or territory or the District of Columbia, subjects, or causes

to be subjected, any citizen of the United States or any other person within the jurisdiction thereof

to the deprivation of any laws, privileges or immunities secured by the Constitution and laws, shall

be liable to the party injured in an action at law, suit in equity, or other proper proceeding for




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redress.” 42 U.S.C. § 1983.

10.    42 U.S.C. § 1983 requires that the conduct complained of must have deprived the person

of some privilege or immunity secured by the Constitution or laws of the United States. As such,

Plaintiff alleges that Defendants, jointly and/or severally deprived him of his Fourth and/or Eighth

Amendment rights and those rights, privileges, and immunities secured by the Fourth and Fifth

Amendments to the Constitution incorporated and applied to the states through the Fourteenth

Amendment. Defendants violated this provision by the following actions, inter alia, and/or

omissions:

       a)      by acting with deliberate indifference to a substantial and known risk of harm to
               Plaintiff;

       b)      by ignoring Plaintiff’s serious medical needs; and

       d)      failing to impose proper and sufficient policies and/or procedures as to the
               screening, reassessment and medical treatment of inmates/detainees/arrestees in
               regard to their medical needs and/or training concerning same.

11.    § 1983 - County/Municipal liability.       It well-established that municipalities are liable

under 42 U.S.C.S. §1983 for constitutional torts that are in-compliance with the municipality’s

customs, practices, policies or procedures. A municipality is liable for constitutional deprivations

visited pursuant to governmental custom even though such custom has not received formal

approval through the body’s official decision-making channels. In this case, Nueces County is

liable because it sanctioned the custom, practice and/or policy or procedure of failing to protect

and/or ignoring the serious medical needs of those entrusted to their care. Defendants’ actions

and/or omissions were not "objectively reasonable" in light of the facts and circumstances

confronting them without regard to their underlying intent or motivation. Clearly, careful attention

to the facts and circumstances of this particular case illustrates the unreasonableness of Defendants’

actions.


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12.      Defendant Nueces County is liable herein because it sanctioned the custom, practice and/or

policy or procedures of, inter alia, 1) ignoring the serious medical needs of those entrusted to its

care based either on expedience or ignorance to the consequences 1 , 2) maintaining and

encouraging          a custom and practice of denying and/or paying little regard for

inmates’/detainees’/arrestees’ adequate and immediate (instead of consistently slow and inefficient)

medical care and treatment for serious medical conditions by failing to properly and adequately

enforce policies and procedures mandated by the Texas Commission on Jail Standards concerning

same and/or in completely failing to have policies concerning same2, 3) failing to have, enforce

and/or train concerning medical reassessments for inmates/detainees/arrestees when serious

medical conditions arise, 4) maintaining and encouraging a custom or practice of delaying medical

necessary treatment/care for a serious medical condition exhibited by inmates/detainees/arrestees

until such time as it is too late for treatment at all, 5) maintaining and encouraging a custom or

practice of processing and accepting inmates/detainees/arrestees for incarceration at the booking


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          Though unnecessary for purpose of pleading (but nonetheless perhaps helpful), a few such recent (within the
last five years alone and not including a plethora of case before such time period) examples known only because of
individual contact by such individuals (listed below by initials for purpose of compliance with HIPPA) with the
undersigned (and certainly represent only a small portion of the complaints and/or concerns with medical care at/in
the Nueces County Jail), are as follows: a) T.N. was repeatedly refused medical attention for pinched nerves in or
around February of 2014; b) N.C. was refused medical attention and/or medications and ended up in ICU in or around
April of 2014 ; c) R.C. was repeatedly refused medications, resulting in him suffering several seizures in or around
April of 2014; d) P.S. was refused treatment for his injured toe, resulting in the loss of same in or around April of
2014; e) D.M. suffered severe complications due to medical neglect during his nearly year-long incarceration in 2014;
f) P.B. was provided the wrong blood-pressure medication, resulting in him having a heart attack in or around
December of 2015; g) C. was provided in the wrong medication, resulting in complications requiring additional
medical attention in or around February of 2016; h) G.B. was repeatedly denied treatment for his cancer in or around
July of 2017; i) C.C. suffered a fall as a result of being denied epilepsy medication in or around November of 2017; j)
G. was refused medical attention for what ended up being a staph infection in or around November of 2017; k) J.U.
was denied medical attention for his injuries in or around November of 2017; l) J.C. was denied medical attention for
a broken shoulder in or around January of 2018; m) V.G. suffered from dehydration due to medical refusal in or around
April of 2018; n) L.L. was refused medical treatment for nearly a week for a hole in his foot that was caused by being
electrocuted in the jail in or around December of 2018; o) B.M. was refused medical attention for a pre-existing broken
leg in or around June of 2019; p) T.H. was raped as a result of the medical’s failure to properly assess him in or around
September of 2016.

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        37 Tex. Admin. Code § 273.2 (requiring any facility – including the Nueces County Jail – provide, inter alia,
procedures for “efficient and prompt care for acute and emergency situations” that arise).


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stage when such person(s) should have been immediately transferred for medical treatment to a

health care facility, 6) failing to adopt or enforce policies and procedures and maintaining and

encouraging a custom and practice that Nueces County knows or should know because of the

numerous complaints and incidents reported to Defendant Nueces County from victims of being

denied adequate medical treatment for serious medical needs or having their serious medical needs

unreasonably delayed while under the custody and control of Defendant Nueces County, 7) failing

to investigate and/or discipline those persons whom are found to have ignored the medical needs

of    such   individuals,    8)   failing   to    adequately    supervise     and/or    observe    its

inmates/detainees/arrestees, 9) failing to provide adequate man power to supervise and/or observe

inmates/detainees/arrestees (an “overcrowding” problem that has persisted for years and has

resulting in guard/inmate ratios in violation of Texas Jail Standards and the cause of several

medical concerns, including many suicides) 3 , 10) failing to provide adequate staff to handle

situations stemming from the medical needs of inmates/detainees/arrestees, 11) failing to impose

proper and sufficient policies and/or procedures as to the screening and/or reassessment of

inmates/detainees/arrestees in regard to their medical needs that arise, 12) failing to train and/or

discipline those employees whom are found to have violated any of the above-noted policies, and

13) failing to train concerning medical reassessments for inmates/detainees/arrestees who – even

while initially may not have signs of obvious medical problems – begin to exhibit obvious signs

of medical problems.

13.    The actions and/or inactions taken in this case were taken pursuant to the customary

practices and/or policies or procedures that were sanctioned by Defendants.             Liability for



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        Among them: Steven Maldonado, Roberto Garcia, Antonio Franco, Samuel Salazar, and Jose Orlando
Sanchez-Ortiz.



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Defendants is established under §1983 because its “ignore all policies” attitude is a persistent,

widespread practice of the county employees -- namely deputies/officers/agents -- that, although

not authorized by officially adopted policy, is so common and well settled as to constitute a custom

that fairly represents official policy. Defendants had actual or constructive knowledge of each

practice, custom, and/or policy or procedure and numerous prior incidents of such conduct and/or

inaction as to establish accession to that custom by the policy makers. Defendants’ unspoken

policies above is a decision that reflects deliberate indifference to the risk that a violation of a

particular constitutional or statutory right will follow the decision. In the alternative, Defendants

are liable under §1983 for failing to adopt clear policies outlining the criteria for determining,

relaying and/or treating the medical needs and/or reassessing the medical needs of

inmates/detainees/arrestees.

                                              VI.
                                            DAMAGES

14.    As a result of the foregoing unlawful and wrongful acts of Defendants, jointly and severally,

Plaintiff has been caused to suffer general damages which include, but are not limited to, the

following: loss of a son, both physical and emotional injury, including but not limited to, pain and

suffering, and severe emotional and mental distress, and shock, along with severe emotional

distress, and loss of support, both emotional and financial.

15.    Said injuries have caused Plaintiff to incur special damages which include but are not

limited to the cost of medical treatment.

16.    Pursuant to the Civil Rights Attorney's Fees Award Act, 42 U.S.C. §1988, a prevailing

party in a §1983 case is entitled to recover its attorney's fees. Hence, Plaintiff further prays for

all costs and attorney fees associated with bringing the present case to trial.




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WHEREFORE PREMISES CONSIDERED, Plaintiff prays that upon trial upon the merits,

Plaintiff recover damages against Defendants, jointly and severally; that this Court issue injunctive

relief and/or provide judicial oversight to ensure compliance with Federal law; and that Plaintiff

recover against each Defendant all reasonable and necessary attorney’s fees, court costs and

expenses in regards to the present suit in litigation. Moreover, Plaintiff prays for all pre-judgment

and post-judgment interest that can be assessed against the Defendants in the event of recovery;

and that Plaintiff recover against each Defendant any and all other general or specific relief to

which they prove herself justly entitled.

                                            Respectfully submitted,

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                                            Attorney for Plaintiff

                                     Demand for Jury Trial

              Plaintiff hereby demands trial by jury pursuant to Fed.R.Civ.P. 38(b)




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